UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR
MEDIA, INC., SCRIPPS MEDIA INC.,
and TEGNA INC.,

Plaintiffs,

Vv.

LIZ MURRILL, in her official capacity
as Attorney General of Louisiana,
ROBERT P. HODGES, in his official
capacity as Superintendent of the
Louisiana State Police, and HILLAR C.
MOORE, III, in his official capacity as
District Attorney of East Baton Rouge
Parish,

Defendants.

CASE NO. 3:24-cv-00623

DECLARATION OF TYRIANNE NICOLE WAIVERS

I, Tyrianne Nicole Waivers, declare as follows:

1. Iam over the age of 18. I make this declaration in support of

Plaintiffs’ Motion for Preliminary Injunction in the above-captioned matter. I have

personal knowledge of the matters stated herein.

2. I am the News Director at 4WWL in New Orleans, Louisiana, a

broadcast television station owned by TEGNA, Inc.
3 Before joining 4WWL, I werked at WFAA in Dallas, Texas, WESH
in Orlando, Florida, WDSU in New Orleans, and Fox8 in New Orleans.

4, In my current role as News Director at 4WWL, I oversee the
newsroom and several dozen employees, including 7 anchors, 10 photographers,
and 13 reporters. I oversee the editorial vision for the newsroom and coordinate
with other managers to determine logistics.

5.  4WWL’s coverage encompasses 13 parishes in southeastern
Louisiana, and our journalists’ cover events at the state capitol in Baton Rouge at
least several times a month.

6. | 4WWL’s journalists come into contact with law enforcement officers
on a regular basis. They cover crime scenes that routinely put them in close
contact with officers multiple times a week. Large events and festivals with
significant law enforcement presence happen several times a month, and we cover
those too.

7. Mardi Gras is the biggest event, and there is a huge law enforcement
presence there. My photographers and reporters are in the crowd and in the thick
of things, right alongside officers managing crowds and directing traffic. Our
journalists are often within a few feet of officers doing their job.

8. We also cover press conferences that involve close contact with law

enforcement officers, typically at least once a week. For instance, the Governor

always has his Louisiana State Police security detail with him wherever he goes,
including press conferences. The same is true for the Mayor of New Orleans, who
is protected by officers from the New Orleans Police Department.

9: In one case, we reported on alleged improper behavior by a member
of the mayor’s security detail, That reporting involved newsgathering within

twenty-five feet of law enforcement. See, e.g., Closer Look at the Vappie, Cantrell

Timeline, 4WWL (July 21, 2024), https://perma.cc/B9A9-P3B3.

10. My team also has regular contact with the Louisiana State Police,
even more so since they have increased their presence in New Orleans.

11. For one, we have reported on the State Police’s involvement in several
recent chases that ended in car crashes. Because of a consent decree with the U.S.
Department of Justice, the New Orleans Police Department has different rules of
engagement with respect to car chases. Those same rules do not apply to the State
Police, so we follow those chases closely to document whether State Police are
endangering members of the public. See, e.g., A Third State Police Chase and a

Third Crash in Three Days, 4WWL (June 12, 2024), https://perma.cc/S9JT-VRSB.

12. When reporting on these crashes and other activities of law
enforcement, the reporters and photographers I supervise may get as close as two

or three feet away from officers, depending on the needs of the story.

we

13. We tell reporters to get as close as they need to capture what’s
happening while remaining safe and avoiding obstructing an investigation.

14. We follow the law, but we keep our camera pointed in the direction of
the action. As journalists that is our duty to the public.

15. My reporters are regularly asked by law enforcement to voluntarily
step back at scenes. Those journalists are happy to give them a few feet if the
circumstances call for it — but not twenty-five. I cannot think of any situation in
the past where it would have been necessary to give officers that much room.

16. I first heard about HB 173 from one of my reporters when it was
under consideration during the legislative session. We talked about its
implications for our work, and we were concerned that we would not be able to
reliably measure twenty-five feet in the field. A group of us pulled out a tape
measure, and we were all surprised at just how long twenty-five feet was.

17. Looking at that distance, it drove home how often our view would be
obstructed at that range while reporting. Everyone in the room thought it was
excessive. I have members of my team who have been reporters for decades in
some instances, and they’ve had no issues working at much closer distances.

18. | We’ve discussed in our newsroom how to adapt if HB 173 goes into
effect, and I’ve told our journalists to follow law enforcement orders while doing

their best to gauge how far twenty-five feet is. But my reporters and I are worried

that the law will be enforced arbitrarily, or that they won’t know how to comply in

a crowded situation like a parade.

19. My team regularly records law enforcement within twenty-five feet

and does so without obstructing any activities of law enforcement. We know that
upcoming events like the Super Bowl will bring our journalists close to countless
law enforcement officers in the field. And we have seen countless incidents where
it has been important to have police conduct captured on tape.

20. The New Orleans Police Department has struggled with community
trust—so much so that the federal government had to impose a consent decree.
There’s deep skepticism of some officers in New Orleans, and it’s important for
the public to know if the Department has moved forward.

21. IfHB 173 goes into effect, the quality of the audio and video we are
able to capture at a distance of twenty-five feet or more will be severely degraded.
At that range, an image will not be clear, and we will not be able to hear what’s
happening. That is not fair to the public trying to understand how officers are
performing their duties, and it isn’t fair to the officers our coverage depicts.

22. As journalists, we create the first record of history. We are
responsible for giving the public a correct impression of what is happening. HB
173, if it goes into effect, will get in the way.

Executed on September 13 , 2024 in New Orleans, Louisiana.
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Tyrianne Nicole Waivers

Prepared by:

Katie Townsend

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